       21-60162-rbk Doc#1 Filed 04/09/21 Entered 04/09/21 14:37:23 Main Document Pg 1 of 7




            (if known)




                         you   Debtor 1                                                           joint
cas                                  you
      yes                                                                   Debtor 1   Debtor 2
                                                 Debtor 1        Debtor 2                         Debtor 1
      21-60162-rbk Doc#1 Filed 04/09/21 Entered 04/09/21 14:37:23 Main Document Pg 2 of 7
                                                                      (if known)




doing business as




                    Check one:                           Check one:
this district
21-60162-rbk Doc#1 Filed 04/09/21 Entered 04/09/21 14:37:23 Main Document Pg 3 of 7
                                                                                             (if known)




             Check one.                                   Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
             (Form 2010))




                                                                                                          Application for Individuals to Pay
                  The Filing Fee in Installments



                      Application to Have the Chapter 7 Filing Fee Waived




                                            Initial Statement About an Eviction Judgment Against You
      21-60162-rbk Doc#1 Filed 04/09/21 Entered 04/09/21 14:37:23 Main Document Pg 4 of 7
                                                                                                                (if known)




                                          Check the appropriate box to describe your business:




                              If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor choosing to
                              proceed under Subchapter V so that it can set appropriate deadlines.

          small business
debtor or a debtor as
defined by 11 U.S.C. §
1182(1)?

                  small
business debtor




For example, do you own
perishable goods, or
livestock that must be fed,
or a building that needs
urgent repairs?
21-60162-rbk Doc#1 Filed 04/09/21 Entered 04/09/21 14:37:23 Main Document Pg 5 of 7
                                                                    (if known)




             You must check one:                   You must check one:
21-60162-rbk Doc#1 Filed 04/09/21 Entered 04/09/21 14:37:23 Main Document Pg 6 of 7
                                                                (if known)




                                               Consumer debts




                                              Business debts




                        04/09/2021
21-60162-rbk Doc#1 Filed 04/09/21 Entered 04/09/21 14:37:23 Main Document Pg 7 of 7
                                                                (if known)




               /s/ Thomas Berghman                         04/09/21




                                                            tberghman@munsch.com
